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                QVC Legal Claims
                   Overview




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What is a claim?

 • A statement about a product that relates to its benefits, performance, efficacy,
   safety, price, or other characteristic that is used to incentivize a customer to
   purchase it.


 • Claims can be explicit or implied.
    o Explicit claim: This cream will protect your skin from the sun.
    o Implied claim: I stayed on the beach all day and didn’t worry about a thing
      after putting this cream on.

 • What may be “common knowledge” to you, might not be “common knowledge”
   to the general public.




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Key Points Regarding Claims Submission Process
• Work with your QVC Merchandising contact to determine if the claims should be
  submitted to QVC Legal or to QVC’s Quality Assurance Team.

• Note: In terms of broad product categories, QVC Legal typically reviews all Beauty
  claims and all dietary supplement claims.

• Allow at least 4 to 6 weeks for Legal to review your claims submissions.

• Organize your claims packet carefully. Tab and highlight the portions of your
  documentation that specifically support each claim. The more organized the packet,
  the more quickly Legal can review the claims.

• List your claims in order of priority/importance.

• All testing documentation must relate to the exact product you are going to sell on
  QVC.



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Key Points Regarding Claims Submission Process

• We require all relevant information related to the claim be submitted, both
  information you are aware of that supports the claim and information you are
  aware of that contradicts it.

• If you have submitted claims through QVC Legal, your on-air Guest will typically
  be scheduled to have a coaching call with a QVC Legal representative prior to
  the air date to go over the claims.

• To the extent you read or hear any information elsewhere that contradicts the
  Legal claims, you should always defer to the Legal claims to guide what you say
  on air.




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